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                       All        trader joe's


    Any Price                                                         Any country




     Online Tr
            T ader Joes Shopping Store in UAE




     Trader Joe's Dark Chocolate Peanut Butter Cups 16 oz Two         Trader joe’s Chili Onion Crunch
     Pack
     By tj's                                                          By tj's

         3.8                                          USA Hub            4.1                                        USA Hub
                                                        to UAE                                                        to UAE
                                                      in 2 Days       AED 71                                        in 2 Days
     AED 166                                                          AED 70




https://www.desertcart.ae/search/trader joe's                                                                                   1/18
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                       All



    Any Price                                                         Any country




     Trader Joe's Soyaki Sauce - 21 oz.                               Trader Joe's Everything but the Bagel Sesame Seasoning Blend
                                                                      2.3 oz, Pack of 1
     By trader joe's soyaki sauce                                     By tj's

         4.5                                          USA Hub            4.7                                          USA Hub
                                                        to UAE                                                          to UAE
                                                      in 2 Days                                                       in 2 Days
     AED 98                                                           AED 52




     Trader Joe's Triple Ginger Snaps, Xlarge                         Trader Joe's Nourish Spray Sunscreen SPF 50+ Broad
                                                                      Spectrum
     By trader joe's                                                  By trader joe's

         4                                            USA Hub            4.7                                          USA Hub
                                                        to UAE                                                          to UAE
                                                      in 2 Days                                                       in 2 Days
     AED 83                                                           AED 84




     Trader Joe's Nourish Spray Sunscreen SPF 50+ Broad               Trader Joe's 21 Seasoning Salute (Pack of 2)
     Spectrum (2-Pack)
     By trader joe's                                                  By trader joe's

         4.7                                          USA Hub                                                         USA Hub
                                                        to UAE                                                          to UAE
                                                      in 2 Days                                                       in 2 Days



https://www.desertcart.ae/search/trader joe's                                                                                        2/18
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     AED 186                                                          AED 69
                       All


                                                                                                                                 Deal
    Any Price                                                         Any country




     Trader Joe's 21 Seasoning Salute (Pack of 2)                     Trader Joe's Enrich Moisturizing Face Lotion - Pack of 2

     By trader joe's                                                  By trader joe's

                                                      USA Hub                                                            India Hub
                                                        to UAE                                                              to UAE
                                                      in 2 Days       AED 432                                          in 3-5 Days
     AED 69                                                           AED 237 Save 45%




     Trader Joe's Everything but The Bagel Sesame Seasoning           Trader Joe's Lemon Hand Soap - 2 Pack
     Blend
     By trader joe's

                                                      India Hub                                                          India Hub
                                                         to UAE                                                             to UAE
     AED 257                                        in 3-5 Days       AED 472                                          in 3-5 Days
     AED 225                                                          AED 417


                                                           Deal




     Trader Joe's Latte Mix Spicy Chai Tea                            Trader Joe s Tea Tree Tingle Shampoo, Conditioner, and Body
                                                                      Wash Set
     By trader joe's                                                  By trader joe's

https://www.desertcart.ae/search/trader joe's                                                                                           3/18
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                                                         India Hub                                                      India Hub
                                                            to UAE                                                         to UAE
     AED 208           All                                              AED 425
                                                       in 3-5 Days                                                    in 3-5 Days
     AED 132 Save 37%                                                   AED 388
    Any Price                                                           Any country

                                                               Deal




     Trader Joe's English Breakfast Tea - 48 Count by Trader Joe's      Trader Joe's Tea Tree Tingle Shampoo with Peppermint, Tea
                                                                        Tree and Eucalyptus Botanicals, 16-Ounces
                                                                        By trader joe's

                                                         India Hub                                                      India Hub
                                                            to UAE                                                         to UAE
     AED 467                                           in 3-5 Days      AED 291                                       in 3-5 Days
     AED 299 Save 36%                                                   AED 233




     Trader Joe's Triple Ginger Snaps - 3 Pack (14 oz tubs), Set of 3   Trader Joe's Meyer Lemon Cookie Thins 9oz(255g)

     By trader joe's                                                    By tj's

                                                         India Hub         4.3                                          USA Hub
                                                            to UAE                                                        to UAE
     AED 462                                           in 3-5 Days                                                      in 2 Days
     AED 401                                                            AED 57




https://www.desertcart.ae/search/trader joe's                                                                                       4/18
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     Trader Joe's Trader Giotto's Bruschetta                          Trader Joe's Rolled Corn Tortilla Chips - Chili & Lime Flavored -
                       All                                            Gluten Free - NET WT. 9Oz (255g) - Pack of 2 Bags
     By tj's                                                          By tj

                                                        USA Hub          4.4                                              USA Hub
    Any Price                                             to UAE      Any country                                           to UAE
                                                        in 2 Days     AED 110                                             in 2 Days
     AED 87                                                           AED 98




     Trader Joe's Peanut Butter Filled Pretzels 16 oz (Pack of 2)     Trader Joe's Crunchy Jalapeno Lime & Onion in Olive Oil, 5.6
                                                                      oz (Pack of 1)
     By trader joe's                                                  By generic

         4.4                                            USA Hub                                                           USA Hub
                                                          to UAE                                                            to UAE
                                                        in 2 Days     AED 81                                              in 2 Days
     AED 105                                                          AED 72




     Trader Joe’s Ground Fermented Black Garlic                       Trader Joes Marinated Olive Duo with Lemon and Herbs (2
                                                                      Pack), 8.8 OZ each
     By trader joe's                                                  By trader joe's

         4.5                                            USA Hub                                                           USA Hub
                                                          to UAE                                                            to UAE
     AED 59                                             in 2 Days                                                         in 2 Days
     AED 56                                                           AED 72




https://www.desertcart.ae/search/trader joe's                                                                                             5/18
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                       All



    Any Price                                                         Any country




     Trader Joe’s Soyaki Sauce, 21 Oz (Pack of 2)                     Trader Joes Bite Size Everything Crackers (2 Pack)

     By trader joe's                                                  By trader joe's

         4.4                                           USA Hub           4                                                 USA Hub
                                                         to UAE                                                              to UAE
                                                       in 2 Days                                                           in 2 Days
     AED 171                                                          AED 140




     Trader Joe's Speculoos Crunchy Cookie Butter 14.1 ounces         Trader Joes Washable Paper Grocery Reusable Bag

     By tj's                                                          By trader joes

         4.5                                           USA Hub           4.7                                               USA Hub
                                                         to UAE                                                              to UAE
                                                       in 2 Days                                                           in 2 Days
     AED 82                                                           AED 85




     Trader Joe's Belgian Dark Chocolate Bars, 1.75 oz (2 Packs of    Trader Joe's Tea Tree Tingle Shampoo with Peppermint, Tea
     3)                                                               Tree and Eucalyptus Botanicals, 16-Ounces
     By tj's                                                          By trader joe's

         4.3                                           USA Hub           4.5                                               USA Hub
                                                         to UAE                                                              to UAE
                                                       in 2 Days                                                           in 2 Days



https://www.desertcart.ae/search/trader joe's                                                                                          6/18
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     AED 72                                                           AED 89
                       All



    Any Price                                                         Any country




     Trader Joe's Sweetened Dried Orange Slices 5.3 Oz, (Pack of 3)   Trader Joes Fig Fruit Butter 11 Oz / 312 G Delicious on Toast
                                                                      or with Cheese
     By tj's                                                          By tj's

         4.5                                           USA Hub           4.3                                            USA Hub
                                                         to UAE                                                           to UAE
                                                       in 2 Days                                                        in 2 Days
     AED 108                                                          AED 81




     Trader Joe's Simply the Best Trek Mix with Cashews, Almonds,     Trader Joe's Everything But The Elote Seasoning Blend With
     Pineapple, Cranberries, and Tart Cherries, 1 lb oz               Chile Pepper, Parmesan Cheese, Chipotle Powder, Cumin,…
     By trader joes                                                   By trader joe's

                                                       USA Hub           4.5                                            USA Hub
                                                         to UAE                                                           to UAE
     AED 108                                           in 2 Days      AED 37                                            in 2 Days
     AED 103                                                          AED 36




     Trader Joes Lemongrass Coconut Body Oil with Almond and          Trader Joe's Cuban Style Citrusy Garlic Seasoning Blend
     Jojoba Oils 4.8 FL OZ (143 ml)                                   2.25oz
     By trader joe's                                                  By tj's

https://www.desertcart.ae/search/trader joe's                                                                                         7/18
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         4.6                                          USA Hub            4.6                                            USA Hub
                                                        to UAE                                                            to UAE
     AED 56
                       All                                            AED 39
                                                      in 2 Days                                                         in 2 Days
     AED 55                                                           AED 37
    Any Price                                                         Any country




     Trader Joes Dried Fruit Soft & Juicy Mango, 6 Ounce (Pack of     Rose Water Facial Toner Hydrate and Refresh by Trader Joe's
     4)                                                               (1 Bottle)
     By tj's                                                          By turning to wellness

         4.3                                          USA Hub            4.6                                            USA Hub
                                                        to UAE                                                            to UAE
     AED 127                                          in 2 Days       AED 59                                            in 2 Days
     AED 118                                                          AED 50




     Trader Joe's Green Goddess Seasoning Blend (Pack of 2)           Trader Joe's Enrich Moisturizing Face Lotion Pack of 2

     By tj's                                                          By trader joe's

         4.7                                          USA Hub            4.6                                            USA Hub
                                                        to UAE                                                            to UAE
     AED 74                                           in 2 Days                                                         in 2 Days
     AED 69                                                           AED 107




https://www.desertcart.ae/search/trader joe's                                                                                       8/18
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     Trader Joe's Everything but The Bagel Sesame Seasoning            Trader Joe's 21 Seasoning Salute 2.2oz (Pack of 3)
     Blend (Pack of 2)All
     By trader joe's                                                   By trader joes

         4.7                                           USA Hub            4.7                                               USA Hub
    Any Price                                            to UAE        Any country                                            to UAE
     AED 81                                            in 2 Days       AED 88                                               in 2 Days
     AED 79                                                            AED 84




     Trader Joe’s MagniØsauce                                          Trader Joe's Peony Blossom Foaming Hand Soap, 8 Fl Oz (Pack
                                                                       of 1)
     By trader joe's

         4.2                                           USA Hub                                                              USA Hub
                                                         to UAE                                                               to UAE
     AED 61                                            in 2 Days                                                            in 2 Days
     AED 58                                                            AED 91




     NEW Trader Joe's Dark Chocolate Peanut Butter Cups 4 PACK         Trader Joe's Grapefruit Scented Candle (Pack of 2)
     NO ARTIFICIAL FLAVORS 1 lb each Container NO…
     By trader joe's

                                                       USA Hub            4.4                                               USA Hub
                                                         to UAE                                                               to UAE
                                                       in 2 Days       AED 193                                              in 2 Days
     AED 245                                                           AED 191




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                       All



    Any Price                                                         Any country




     Trader Joe's Mushroom and Company Multipurpose Umami             Trader Joe's Green Tea Mints (Pack of 2)
     Seasoning Blend 2.1 Ounces
     By trader joe's                                                  By trader joe's

         4.6                                          USA Hub            4.5                                            USA Hub
                                                        to UAE                                                            to UAE
                                                      in 2 Days       AED 55                                            in 2 Days
     AED 43                                                           AED 52




     Trader Joe's BBQ Rub and Seasoning with Coffee & Garlic -        Set of 3 Trader Joe's Spicy Chai Latte
     PACK OF 4
     By trader joe's                                                  By trader joe's

         4.8                                          USA Hub            4.7                                            USA Hub
                                                        to UAE                                                            to UAE
                                                      in 2 Days                                                         in 2 Days
     AED 209                                                          AED 211


                                                                                                                             Deal




     Trader Joe's Tea Tree Tingle Moisturizing Shampoo &              Trader Joe's Chile Lime Seasoning Blend 2.9 Oz, Pack of 1
     Conditioner 4 Pack (2 Each) - CRUELTY FREE
     By trader joe's                                                  By tj's

         4.5                                          USA Hub            4.6                                            USA Hub
                                                        to UAE                                                            to UAE
                                                      in 2 Days       AED 73                                            in 2 Days



https://www.desertcart.ae/search/trader joe's                                                                                       10/18
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     AED 240                                                          AED 37 Save 49%
                       All



    Any Price                                                         Any country




     Mens Womens Tshirt Trader Joes Grocery Store Shirts for          Trader Joe's Ketchup Flavored Sprinkle Seasoning Blend (Pack
     Men Women Mon Gift Friends Multicolor                            of 1)
     By generic

                                                      USA Hub                                                          USA Hub
                                                        to UAE                                                           to UAE
                                                      in 2 Days                                                        in 2 Days
     AED 140                                                          AED 113




     Trader Joe's Spiced Chai Assam Black Tea &Exotic Spices 20       Trader Joe's Original Savory Thin Mini Crackers 8oz(227g)
     Tea Bags 2.2 Oz. (Pack of 3)
     By trader joe's                                                  By trader joe's

         4.7                                          USA Hub            4.3                                           USA Hub
                                                        to UAE                                                           to UAE
                                                      in 2 Days                                                        in 2 Days
     AED 104                                                          AED 86


                                                            Deal




     Trader Joe's Freeze Dried Strawberries Unsweetened &             Trader Joes Thai Lime & Chili Almonds - PACK OF 2
     Unsulfured 1.2oz
     By trader joe's                                                  By trader joe's

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                                                      India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 167           All                                            AED 546
                                                    in 3-5 Days                                                      in 3-5 Days
     AED 124 Save 26%                                                 AED 437
    Any Price                                                         Any country




     Trader Joe's Tea Tree Tingle Conditioner with Peppermint and     Trader Joe's Tea Tree Tingle Body Wash,16 ounce
     Eucalyptus (Pack of 2) by Kodiake


                                                      India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 986                                        in 3-5 Days       AED 523                                        in 3-5 Days
     AED 789                                                          AED 419


                                                           Deal




     Trader Joe's Happy Trekking...Almonds, Cashews, Pistachios,      Trader Joe's Tea Tree Tingle Shampoo & Conditioner, 16 oz.
     Chocolate, Cranberries & Cherries...15 oz. bag...Low…


                                                      India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 1,116                                      in 3-5 Days       AED 836                                        in 3-5 Days
     AED 884 Save 21%                                                 AED 669


                                                           Deal                                                             Deal




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     Trader Joe's Pumpkin Body Butter and Trader Joe's Coconut        Trader Joe's Tea Tree Tingle Conditioner with Peppermint and
     Body Butter Luxurious
                    All    Valentine Bundle (2 Items)                 Eucalyptus - Cruelty Free
                                                                      By trader joe's

                                                      India Hub          5                                             India Hub
    Any Price                                            to UAE       Any country                                         to UAE
     AED 1,016                                      in 3-5 Days       AED 344                                        in 3-5 Days
     AED 524 Save 48%                                                 AED 198 Save 42%


                                                           Deal




     Trader Joes Organic Tea Variety Pack - Pomegranate White         Trader Joe's Whole Grain, Gluten Free Rolled Oats - Two 32
     Tea, Moroccan Mint Green Tea, Ginger Turmeric Herbal Tea -…      oz. Bags
                                                                      By trader joe's

                                                      India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 560                                        in 3-5 Days       AED 506                                        in 3-5 Days
     AED 364 Save 35%                                                 AED 437


                                                                                                                            Deal




     Trader Joe's Face and Body Sunscreen Lotion Broad Spectrum       Trader Joe's Lavender Salt Scrub (2-Pack)
     SPF 30


                                                      India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 397                                        in 3-5 Days       AED 1,151                                      in 3-5 Days
     AED 318                                                          AED 594 Save 48%


                                                           Deal




https://www.desertcart.ae/search/trader joe's                                                                                        13/18
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                       All



    Any Price                                                         Any country




     Trader Joe's Tea Tree Tingle Conditioner with Peppermint and     Trader Joe's Nourish Spa Balance Moisturizing Shampoo &
     Eucalyptus (Pack of 2)                                           Moisturizing Conditioner


                                                      India Hub          4.3                                           India Hub
                                                         to UAE                                                           to UAE
     AED 903                                        in 3-5 Days       AED 639                                        in 3-5 Days
     AED 504 Save 44%                                                 AED 589


                                                           Deal                                                                Deal




     2 Pack Trader Joe's Spa Face Wash with Tea Tree Oil              2-PACK, Trader Joe's ULTRA MOISTURIZING HAND CREAM -
                                                                      20% Pure SHEA BUTTER, Enriched with HEMP SEED OIL &…
                                                                      By trader joe's

         4.6                                          India Hub                                                        India Hub
                                                         to UAE                                                           to UAE
     AED 828                                        in 3-5 Days       AED 441                                        in 3-5 Days
     AED 475 Save 43%                                                 AED 237 Save 46%


                                                           Deal




     Trader Joe's Cocoa Batons 5 oz                                   Trader Joe's Glucosamine Chondroitin for Dogs (2 Pack)

     By tj's

                                                      India Hub          4.2                                           India Hub
                                                         to UAE                                                           to UAE
     AED 205                                        in 3-5 Days       AED 640                                        in 3-5 Days



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     AED 106 Save 48%                                                 AED 609
                       All



    Any Price                                                         Any country




     Trader Joe's Lavender & Chamomile Hand Soap - 2 Pack             Trader Joe's Tea Tree Tingle Shampoo with Peppermint, Tea
                                                                      Tree and Eucalyptus Botanicals, 16-Ounces
                                                                      By trader joe's

                                                      India Hub                                                         India Hub
                                                         to UAE                                                            to UAE
     AED 463                                        in 3-5 Days       AED 362                                         in 3-5 Days
     AED 408                                                          AED 290


                                                            Deal




     Trader Joe's Trader Giotto's Oven-Baked, Gluten-Free, Low        Trader Joe's Unsweetened INSTANT Oatmeal 11.3 oz (Pack of
     Carb Cheese Bites (3-pack)                                       2 boxes), Set of 2
     By trader joes

                                                      India Hub                                                         India Hub
                                                         to UAE                                                            to UAE
     AED 276                                        in 3-5 Days       AED 558                                         in 3-5 Days
     AED 218 Save 21%                                                 AED 456


                                                                                                                             Deal




     Trader Joe's Face and Body Sunscreen Lotion Broad Spectrum       Trader Joes 100% Pure Spa Jojoba Oil - Cruelty Free - Two. 4-
     SPF 30                                                           Oz bottles by Trader Joes Spa
     By trader joe's                                                  By trader joes spa

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                                                        India Hub                                                          India Hub
                                                           to UAE                                                             to UAE
     AED 370
                        All                                               AED 496
                                                      in 3-5 Days                                                        in 3-5 Days
     AED 296                                                              AED 279 Save 44%
    Any Price                                                              Any country

                                                              Deal                                                              Deal




     Trader Joe's Triple Ginger Snaps, Xlarge (.2-Pack)                   Trader Joe's Spa Set: Face Wash and Facial Cleansing Pads
                                                                          with Tea Tree Oil
     By trader joe's                                                      By trader joe's

                                                        India Hub                                                          India Hub
                                                           to UAE                                                             to UAE
     AED 343                                          in 3-5 Days         AED 754                                        in 3-5 Days
     AED 270 Save 21%                                                     AED 382 Save 49%


                                                              Deal




     Trader Joe's Shea Butter & Coconut Oil Hair Serum

     By trader joe's

                                                        India Hub
                                                           to UAE
     AED 282                                          in 3-5 Days
     AED 129 Save 54%



                                                                    Load More




     T p trader joes brands
     To


          Trader Joes               Ts
                                    Tj          Trader Joes           Generic            Trader Joes Spa




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                       All



    Any Price                                                           Any country



      Where can I buy the best Tr
                               T ader Joes online at the best price in UAE?

      desertcart is the best online shopping platform in UAE where you can choose to buy from the largest selection of
      Trader Joes from renowned brands. desertcart delivers the most unique and largest selection of products from
      across the world especially from the US, UK and India at affordable prices and the fastest delivery time.

      What are the best-selling Tr
                                T ader Joes on desertcart?

      desertcart helps you to shop online and delivers Trader Joes to your doorstep. The best-selling Trader Joes on
      desertcart are: (1) Trader Joe's Dark Chocolate Peanut Butter Cups 16 oz Two Pack (2) Trader joe’s Chili Onion
      Crunch (3) Trader Joe's Soyaki Sauce - 21 oz. (4) Trader Joe's Everything but the Bagel Sesame Seasoning Blend
      2.3 oz, Pack of 1 (5) Trader Joe's Triple Ginger Snaps, Xlarge (6) Trader Joe's Nourish Spray Sunscreen SPF 50+
      Broad Spectrum

      Are Tr
          T ader Joes available and ready for delivery in Dubai, Abu Dhabi, Sharj
                                                                               r ah, Al Ain, Aj
                                                                                             A man in UAE?

      desertcart ships the Trader Joes in Dubai, Abu Dhabi, Sharj
                                                                r ah, Al Ain, Aj
                                                                              A man and more cities in UAE. Get
      unlimited free shipping in 164+ countries with desertcart Plus membership. We can deliver the Trader Joes
      speedily without the hassle of shipping, customs or duties.

      Does desertcart have 100% authentic Tr
                                          T ader Joes online?

      desertcart buys Trader Joes directly from the authorised agents and veriØes the authenticity of the products. We
      have a dedicated team who specialise in quality control delivery.
                                                                     y We also provide a free 14 days return policy
      along with 24/7 customer support experience.

      Is desertcart UAE Legit Site to Shop Tr
                                           T ader Joes Online?

      desertcart is a 100% legit website to buy Trader Joes of authentic brands. Our dedicated team specialize in
      quality control of each product and deliver them to the customers at their doorsteps.




                                                               Need Help ?
                                                        We'd love to help you out!
                                                        support@desertcart.com




     Phone Support                                           24/7 Live Chat                                               FAQ
     +971 4 5616852                                        Chat with us anytime                                      Find your answer




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